      Case 4:23-cv-03560 Document 109 Filed on 11/30/23 in TXSD Page 1 of 2
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                            UNITED STATES DISTRICT COURT                               November 30, 2023
                             SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


FEDERAL TRADE COMMISSION,               §
                                        §
       Plaintiff,                       §
                                        §
VS.                                     §            CIVIL ACTION NO. 4:23-CV-03560
                                        §
U.S. ANESTHESIA PARTNERS, INC., et al., §
                                        §
       Defendants.                      §
                                        §

   ORDER DENYING NON-PARTY ENVISION HEALTHCARE CORPORATION’S
                    OPPOSED MOTION TO SEAL


       The Court has considered Non-Party, Envision Healthcare Corporation’s opposed

motion to Seal, [DE 74], and all related exhibits and briefs and FINDS that the public’s

presumptive right of access to judicial records outweighs Envision’s interests in maintaining

the document(s) UNDER SEAL or in redacting same.

       Thus, the Court FINDS that:

       a)     the public has a strong interest in knowing the content of the FTC’s claims
              regarding the USAP/Envision market allocation;

       b)     Envision, while not a party to the FTC’s litigation is the “counterpart to a market
              allocation agreement with USAF that the FTC alleges is unlawful;

       c)     the proffers and arguments made by Envision concerning its motion to seal fails
              to demonstrate how the disclosure of the market allocation information will
              negatively impact Envision’s “competitive edge”, if any, or otherwise be
              harmed;

       d)     the arguments and supporting data provided by Envision fail to establish how
              the descriptive language that the FTC concerning a decade old document will
              undercut Envision’s competitive edge;

       e)     the FTC’s pleadings do not quote the language of Strategic Alliance Agreement,
1/2
      Case 4:23-cv-03560 Document 109 Filed on 11/30/23 in TXSD Page 2 of 2




                but instead uses language that characterizes certain of its terms; and,

       f)       finally, Envision fails to show how disclosure could prove injurious to its
                reputation in an implemented but completed bankruptcy Plan.

            Accordingly, the Motion is DENIED, and it is hereby ORDERED that the Clerk of

 Court shall (1) UNSEAL the FTC’s Complaint that was submitted under seal on October

 26th (DE 69) without further redactions and, (2) unseal Envision’s Motion (DE 74) and

 exhibits, the FTC’s Opposition to Envision’s motion (DE 81) and any exhibits and any reply.

            It is so ORDERED.

            SIGNED on November 30, 2023, at Houston, Texas.


                                                       _________________________________
                                                       Kenneth M. Hoyt
                                                       United States District Judge




2/2
